                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff,                  )
                                                    )
 v.                                                 )             No. 3:05-CR-97
                                                    )             (JARVIS/GUYTON)
 HEATHER NATASHA WHITT,                             )
                                                    )
                        Defendant.                  )

                                     MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This matter is before the Court on the defendant’s Motion

 for Extension of Time to File Motions [Doc. 13], filed on September 19, 2005. The defendant

 requests that the motion-filing deadline be extended from September 19, 2005, to September 26,

 2005, in order to allow counsel time to develop the issues and file motions if deemed necessary.

 Defense counsel notes that he was ill during the time leading up to the present motion-filing

 deadline.

                The Court held a hearing on the motion on September 19, 2005. Assistant United

 States Attorney Steven Cook appeared on behalf of the government. Attorney Kevin Angel

 represented the defendant, who was also present. At the hearing, the government stated that it did

 not object to the requested continuance.

                Finding the defendant has shown good cause for an extension, the Court hereby

 GRANTS the motion [Doc. 13] and extends the deadline for filing motions to September 26,

 2005. The government has until October 11, 2005, to file its responses to any motions filed. The

 pretrial conference is reset to October 17, 2005, at 3:00 p.m. All other dates in the case,



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 including the October 18, 2005 trial date, shall remain the same at this time.

                IT IS SO ORDERED.

                                                ENTER:


                                                      s/ H. Bruce Guyton
                                                United States Magistrate Judge




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